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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-81533-BLOOM/Valle

 GALE VALERIE ABRAMS,

         Plaintiff,

 v.

 BENZ, LLC,

       Defendant.
 _________________________/

                                  DEFAULT FINAL JUDGMENT

         THIS CAUSE is before the Court on the Plaintiff’s Motion for Entry of Judgment After

 Default, ECF No. [16] (the “Motion”), filed on January 4, 2019. For the reasons given in the

 Court’s Order on the Motion, the Court grants the Motion, and enters a final judgment, pursuant

 to Rule 58 of the Federal Rules of Civil Procedure, in favor of Plaintiff and against Defendant

 Benz, LLC. Accordingly, it is ORDERED AND ADJUDGED as follows:

 1. Default Final Judgment is entered in favor of Plaintiff, GALE VALERIE ABRAMS, and

      against Defendant, BENZ, LLC, in the form of injunctive relief and attorney’s fees.

 2. Defendant has violated the Americas With Disabilities Act (“ADA”). On or before March 4,

      2019, Defendant shall bring its place of public accommodation into compliance with the

      Americans       With     Disabilities    Act,     namely       the     website     located      at

      https://www.berneyflybedandbreakfast.com/ by taking the following actions:

          (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities

         can make reservations for accessible guest rooms during the same hours and in the same

         manner as individuals who do not need accessible rooms;
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        (ii) Identify and describe accessible features in the hotels and guest rooms offered

        through its reservations service in enough detail to reasonably permit individuals with

        disabilities to assess independently whether a given hotel or guest room meets his or her

        accessibility needs;

        (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities

        until all other guest rooms of that type have been rented and the accessible room

        requested is the only remaining room of that type;

        (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and

        ensure that the guest rooms requested are blocked and removed from all reservations

        systems; and

        (v) Guarantee that the specific accessible guest room reserved through its reservations

        service is held for the reserving customer, regardless of whether a specific room is held in

        response to reservations made by others.

 3. Defendant must pay reasonable attorney’s fees in the amount of $4,518.00, and $560.00 in

    costs, for a total judgment of $6,078.00, for which execution shall issue. Interest shall accrue

    at the rate determined by law.

 4. The Clerk of Court is directed to CLOSE this case.

 5. To the extent not otherwise disposed of, any pending motions are DENIED as moot and all

    pending deadlines are TERMINATED.

 6. The Court retains jurisdiction to enforce this Final Default Judgment.




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         DONE AND ORDERED in Chambers at Miami, Florida, this 5th day of January,

 2019.



                                         __________________________________________
                                         BETH BLOOM
                                         UNITED STATES DISTRICT JUDGE


 Copies to:
 Counsel of Record
 BENZ, LLC.
 1118 Government Street
 Mobile, FL 36604




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